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                      EXHIBIT A
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                                                                                                    Washington, DC 20004
  www.motleyrice.com                                                                      o. 202.232.5504 f. 202.232.5513


“I will stand for my client’s rights.
         I am a trial lawyer.”

    –Ron Motley (1944–2013)



           August 28, 2023
           Sent via email to david@specialmaster.law
           Special Master David R. Cohen
           24400 Chagrin Blvd., Suite 300
           Beachwood, OH 44122

           Sent via email to Carrie_Rousch@ohnd.uscourts.gov
           Carrie Rousch, Esq.
           801 West Superior Avenue, Ctrm 18B
           Cleveland, Ohio 44113


           RE: PBM Status Report
           Dear Special Master Cohen and Ms. Rousch:
                   The PEC submits the following as its status report regarding the case against the PBMs.
           The PEC and PBMs met and conferred, on multiple occasions, without reaching agreement on a
           bellwether selection process. The PEC recommends the Court adopt the same procedures which
           resulted in resolution of the cases against the manufacturers, distributors and dispensers as outlined
           in Case Management Order One (Doc. #232) (“CMO1”). Specifically, the PEC recommends the
           following:
                   1. “Motion Track”: The PEC believes it will be efficient and informative to proceed with
           briefing on threshold legal issues raised by the PBMs. Accordingly, the PEC recommends the
           Court designate a “Motion Track” bellwether. Plaintiff shall file its amended complaint within 10
           days of the entry of this Order and Defendants shall file a consolidated motion to dismiss within
           28 days thereafter. Plaintiffs may respond to the motion within 15 days after the motion is filed,
           and Defendants may reply within 10 days thereafter.
                   2. “Case Track”: The PEC recommends the selection of four (4) bellwethers for purposes
           of discovery and trial preparation designated as Case Track 12 (CT12), Case Track 13 (CT13),
           Case Track 14 (CT14), and Case Track 15 (CT15). The PEC and the PBMs will each nominate 4
           cases currently pending in the MDL and with plaintiffs from 4 different federal districts. Each side
           will strike two of the other’s nominations. The Court will determine whether the four remaining
            MT. PLEASANT, SC | MORGANTOWN, WV | CHARLESTON, WV | PROVIDENCE, RI | WASHINGTON, DC | CHERRY HILL, NJ
                                        PHILADELPHIA, PA | HARTFORD, CT | NEW YORK, NY
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nominees are proper bellwethers and enter an Order accordingly. Plaintiffs will be afforded an
opportunity to amend followed by the entry of a case management order.
         To be clear, the PEC recommends the bellwethers be selected from cases pending in the
MDL regardless of whether the case currently includes claims against the PBMs. The bellwether
process in MDL2804 includes permissive amendment. CMO1 allows a bellwether to amend its
initial pleading “including any amendment to add a party to a case.” CMO1, ⁋6.b. Further, “[i]f a
case is later designated as a bellwether for motion practice or trial, a separate CMO will be entered
that will provide for another opportunity to amend.” Order (Doc #: 371) (emphasis added).
Finally, the Sixth Circuit specifically held this process is “not a judicial usurpation of power nor a
clear abuse of discretion.” Order (Doc. #4747).
        The PEC believes this process is fair, efficient and consistent with the procedures utilized
by the parties and the Court over the preceding 5 years. The immediate resolution of the legal
issue(s) will propel this phase of litigation toward resolution.


Respectfully,
/s/ Peter H. Weinberger                               /s/Linda Singer
Peter Weinberger                                      Linda Singer
Plaintiffs’ Liaison Counsel                           Motley Rice

/es


cc:      Kim Chemerinsky, Esq.
         Bill Jordan, Esq.
         Brian Boone, Esq.
         Emily McGowan, Esq.
         Ethan Bond, Esq.
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